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U.S. DISTRICT COURT |
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IN THE UNITED STATES DISTRICT |COURT
FOR THE NORTHERN DISTRICT OH TEXAS EC - 3 2019

 

 

 

DALLAS DIVISION
( CLERK,U-S. DISTRICT COURT
UNITED STATES OF AMERICA — By = pe |
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Vv. NO. 3:19-CR-083-M
(Supersedes indictment filed on
February 21, 2019)
RUEL M. HAMILTON
SUPERSEDING INDICTMENT
The Grand Jury Charges:
Introduction

At all times material to this indictment:

1. Defendant Ruel M. Hamilton (“Hamilton”) was a principal of

AmeriSouth Realty Group (“AmeriSouth”) and a real estate developer engaged in
developing low income and other for-profit housing projects within the City of Dallas

_ and elsewhere.

2. From in or around November 2013 to in or around August 2018, Hamilton
engaged in a scheme to corruptly influence public officials related to Hamilton’s
business interests within the City of Dallas and to further Hamilton’s political objectives.
3. Carolyn Rena Davis was elected to the Dallas City Council District 7 in
2007, and re-elected to the same position in 2009, 2011, and 2013. During her tenure on

the City Council, Davis also served as Chair of the Dallas Housing Committee. Davis

was, as such, an agent of the City of Dallas during her tenure on the City Council.

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4, Jeremy Scroggins was the owner of a nonprofit known as Hip Hop
Government.

5. Council Member A, an individual known to the grand jury, was at all
relevant times a member of the Dallas City Council, and as such, during all relevant
times, was an agent of the City of Dallas.

6. The City of Dallas was an incorporated unit of local government and a
political subdivision of the State of Texas that received benefits in excess of $10,000 in
each of the consecutive fiscal one-year periods beginning October 1, 2013, October 1,
2014, October 1, 2015, October 1, 2016, and October 1, 2017, under a Federal program
involving a grant, contract, subsidy, loan, guarantee, insurance, or other form of Federal

assistance.

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Count One
Conspiracy to Commit Bribery Concerning Programs Receiving Federal Funds
[Violation of 18 U.S.C. § 371]

7. From in or around November 2013 to in or around June 2015, in the Dallas
Division of the Northern District of Texas, the defendant, Ruel M. Hamilton, Carolyn
Rena Davis, and others known and unknown to the grand jury, unlawfully, willfully, and
knowingly did combine, conspire, confederate and agree with each other for Davis to
receive bribes and other things of value from Hamilton, a real estate developer, intending
to be influenced and rewarded in connection with a business, transaction, or series of
transactions of the City of Dallas involving anything of value of $5,000 or more,
specifically, Hamilton’s affordable housing projects, with the intent to influence and
reward Davis, an agent of the City of Dallas, a local government that received benefits in
excess of $10,000 in the one-year periods beginning October 1, 2013 and October 1,
2014, under a Federal program involving a grant, contract, subsidy, loan, guarantee,
insurance, and other form of Federal assistance, in violation of Title 18, United States
Code, Section 666(a)(1)(B) & (a)(2).

8. It was an object of the conspiracy for Hamilton to enrich himself by
corruptly offering, giving, and agreeing to give things of value to Davis for her
performance of official acts that would advance the business interests of Hamilton
concerning his affordable housing projects in the City of Dallas.

9. It was a part and object of the conspiracy that Davis corruptly solicited and
demanded, and agreed to accept and did accept things of value with the intent to be

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influenced and rewarded in the performance of Davis’s official acts as a Dallas City

Council Member and as Chair of the Dallas City Housing Committee that would advance

the business interests of Hamilton in acquiring and developing affordable housing

projects in the City of Dallas.
- Purposes of the Conspiracy

10. It was a purpose of the conspiracy for Davis to enrich herself through bribe
payments and other things of value while on the City Council and to establish herself as a
consultant and lobbyist once she left the Council.

11. It was a purpose of the conspiracy for Hamilton to enrich himself through
obtaining beneficial official action.

12. It was a purpose of the conspiracy for Davis and Hamilton to conceal the
payment of bribes to Davis from the Dallas City Council, the voters of the City of Dallas,
and the Texas Department of Housing and Community Affairs.

Manner and Means of the Conspiracy

13. Inreturn for benefits totaling approximately $40,000 in checks and cash,
the benefit of bundling and dispersing money from Hamilton to other political
candidates, and the promise by Hamilton of future employment for Davis as a consultant
and lobbyist, Davis, in her official capacity, advocated and voted for Hamilton’s Royal
Crest project including the authorization of City of Dallas funds and obligations in excess
of $2.5 million for said project.

14. Asamember of the City Council and as Chair of the Housing Committee,

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Davis would and did use her official position to seek things of value for herself by
providing official assistance to Hamilton, who sought Texas Department of Housing and
Community Affairs (“TDHCA”) approval of Hamilton’s Low Income Housing Tax
Credit applications for projects located in the City of Dallas.

15. More specifically, in return for things of value, Davis would and did agree
to perform and did perform a pattern of official acts to promote and advance Hamilton’s
business interests, which included:

a. supporting and voting for Hamilton’s projects as the Chair of the
Dallas Housing Committee, including recommending tax credit
applications;

b. moving the City Council to vote for, and voting for, Hamilton’s
Royal Crest project as a City Council Member, including authorizing the
Dallas Housing Finance Corporation (“DHFC”) to provide a $2,520,000
development loan to the project, and for the City of Dallas to recommend

the project for the 9% tax credits to the TDHCA;

c. seeking the support of other elected officials for Hamilton’s project;
and

d. agreeing to lobby for Hamilton’s project before the TDHCA.

16. At the direction of Davis, and in order to disguise the bribe payments,
Hamilton wrote checks payable to a nonprofit company owned by Jeremy Scroggins and
to Scroggins individually.

17. At Davis’ direction, Scroggins deposited and or cashed the checks received
from Hamilton and then gave some or all of the proceeds to Davis in cash. .

18. Hamilton also provided checks and large sums of cash to Davis knowing

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that Davis would further distribute these amounts as campaign contributions to
candidates for the Dallas City Council. In order to skirt campaign finance laws,
Hamilton would write multiple checks to the same candidate for an aggregate amount
that exceeded the limit for a single donor, but, often without their knowledge, reference
the names of his employees and family members, including his minor grandchildren, on
the checks to disguise the fact that these donations all came from Hamilton and were in
excess of campaign finance limits. Hamilton engaged in this conduct to further his
scheme to influence Davis while she was on the City Council, and to promote her future
consulting and lobbying venture on behalf of herself and Hamilton’s projects once she
was off the council in June 2015 due to term limits.

19. | Davis concealed her expected and actual receipt of things of value by not
disclosing conflicts of interest, omitting sources of income on a financial disclosure
report filed with the City, and failing to recuse herself from votes wherein she was
conflicted.

Overt Acts

20. In furtherance of the conspiracy and to effect the objects thereof, Ruel M.
Hamilton, Davis, Scroggins, and others, committed, and caused to be committed, the
following overt acts, among others, in the Dallas Division of the Northern District of
Texas:

21. Sometime on or before November 18, 2013, the exact date being unknown

to the grand jury, Davis and Hamilton agreed that Davis would promote Hamilton’s

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affordable housing projects before the Dallas Housing Committee and the City Council in
exchange for things of value.

22. Onor about November 18, 2013, Hamilton gave Davis a check in the
amount of $2,500, payable to Scroggins, written on Hamilton’s Amegy Bank account
ending in 8967.

23. On or about September 10, 2014, Hamilton gave Davis a check in the
amount of $2,500, payable to Scroggins’s nonprofit company, written on Hamilton’s
Independent Bank of Texas account ending in 1273.

24. Onor about October 20, 2014, Hamilton gave Davis a check in the amount
of $2,500, payable to Scroggins’s nonprofit company, written on Hamilton’s Amegy
Bank account ending in 8967.

25. Onor about November 7, 2014, Hamilton gave Davis a check in the
amount of $9,000, payable to Scroggins’s nonprofit company, written on Hamilton’s
Sovereign Bank account ending in 0497.

26. Onor about November 18, 2014, Hamilton gave Davis a check in the
amount of $6,000, payable to Scroggins’s nonprofit company, written on Hamilton’s
Sovereign Bank account ending in 0497.

27. Onor about January 8, 2015, Hamilton gave Davis a check in the amount
of $3,500, payable to Scroggins’s nonprofit company, written on Hamilton’s Amegy
Bank account ending in 8967.

28. On or about January 22, 2015, Hamilton gave Davis a check in the amount

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of $1,500, payable to Scroggins’s nonprofit company, written on Hamilton’s Amegy
Bank account ending in 8967.

29. Onor about January 22, 2015, Hamilton wrote eight checks payable to
Dallas City Council Member Candidate B’s campaign, an individual known to the grand
jury, totaling $10,000, written on Hamilton’s Independent Bank of Texas account ending
in 1273. These checks indicated that the donors were members of Hamilton’s family,
including minor grandchildren, and Hamilton’s employees. Hamilton wrote an
additional $2,000 check payable to Candidate B’s campaign on his Amegy Bank account
ending in 8967. This check indicated that Hamilton and his wife were the donors.

30. Onor about February 16, 2015, at approximately 2:37 p.m., Davis tells an
associate that she told candidates, including Dallas City Council Member Candidate C, an
individual known to the grand jury, that they should not take “money from folk that’s
over a thousand. Get some nonprofits that you could support and tell them to channel
the money through those nonprofits. I -—and-— and you know, can nobody touch you.
The money ain’t in yourname. You can’t put that money in your name and then expect
not to get caught. I have turned people on to nonprofits all day long.”

31. Onor about February 16, 2015, at 3:49 p.m., Davis and Hamilton
discussed campaign contributions for Candidate B. Davis reminds Hamilton that she
will be off the council soon whereupon Hamilton responds: “Yeah, I know. I know we
got to get as much done as possible.”

32. Onor about February 20, 2015, at approximately 12:27 p.m., Davis

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reminds Hamilton that the campaign contributions for Candidate B can only be “a
thousand dollars per person.” Hamilton responds: “Yeah. Well, I got a couple people
up here I’m going to get some from and then I’m going to start rounding out stuff for
family members.”

33. Onor about February 22, 2015, at approximately 9:04 a.m., Davis tells
Scroggins that if a public official’s spouse had “started her own nonprofit -- them checks
could have went to her nonprofit all day long and there’s nothing the FBI could do about
it.” Davis further says: “It’s just not to be caught red-handed doing stuff.”

34. Onor about February 26, 2015, at approximately 9:57 a.m., Davis tells
Hamilton that the checks he had previously written for Candidate B have to be rewritten.
Hamilton then tells Davis to “bring them all and I’1l rewrite every one of them.”

35. Onor about February 27, 2015, Hamilton wrote seven checks payable to
Candidate C’s campaign, totaling $10,000, written on Hamilton’s Sovereign Bank
account ending in 0497. These checks indicated that the donors were members of
Hamilton’s family, including minor grandchildren, and Hamilton’s employees.

36. Onor about February 27, 2015, Hamilton wrote seven checks payable to
Council Member A’s campaign totaling $10,000, written on Hamilton’s Sovereign Bank
account ending in 0497. These checks indicated that the donors were members of
Hamilton’s family, including minor grandchildren, and Hamilton’s employees.

37. Onor about March 6, 2015, Hamilton gave Davis a check in the amount of

$2,000, payable to Scroggins’s nonprofit company, written on Hamilton’s Independent

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Bank of Texas account ending in 1273.

38. | Oneach occasion wherein Hamilton gave Davis a check for Scroggins or
his nonprofit, Davis would give the check to Scroggins who would then either deposit it
into an account held by Scroggins or cash it. Generally, Scroggins, at Davis’s direction,
would then give some or all of the proceeds to Davis in cash.

39. On or about March 6, 2015, at approximately 4:23 p.m., Davis asked
Hamilton if we can meet tomorrow “so I can give you your checks back and you.can
rewrite some new ones?”

40. Onor about March 18, 2015, Hamilton wrote four checks payable to
Council Member A’s campaign totaling $4,000, written on Hamilton’s Sovereign Bank
account ending in 0497. The checks indicated that the donors were Hamilton’s
employees.

41. Onor about March 19, 2015, Davis filed her 2014 Personal Financial
Statement with the City of Dallas and did not disclose the payments she received from
Hamilton in 2014.

42. Onor about April 13, 2015, at approximately 4:16 p.m., Hamilton told
Davis: “So, I know you wanted the rest of the cash. I have a -- probably half of it. I
know I have over another thousand bucks or we could do it tomorrow, so-.” Davis
responded: “Well, it’s up to you ..... We can wait until tomorrow if you want to.”

43. Onor about April 14, 2015, at approximately 4:52 p.m., Hamilton and

Davis discuss meeting at Hamilton’s office momentarily for Davis to pick up cash.

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Hamilton asks Davis if she “want[s] to come up for a little bit or are you just planning to
-- doing a hit and run?”

44.  Onor about May 11, 2015, at approximately 10:26 a.m., while discussing
campaign donations, Davis told Hamilton to “try to have the money in different — in
different names already laid out, but not your office address, if that makes sense.
Because I don’t want them to come back, hit me like they did last time.”

45. Onor about May 18, 2015, at approximately 12:49 p.m., Davis tells
Hamilton “I’m on my -- my way to come -- you need me to meet you downstairs and we
just go over there? J —I -J got the totals figured out what I think we need to do.”

46. Onor about May 18, 2015, Hamilton went to Amegy Bank, accompanied
by Davis, withdrew $5,000 cash from his Independent Bank of Texas account ending in
1620, and gave it to Davis for herself and for political donations.

47. Onor about June 2, 2015, at approximately 10:36 a.m., Davis told
Hamilton she will have to “work the polls” for Candidate B. Hamilton asks: “Is there
anything I can do to help?” Davis replies: “we might have to get some -- income -- I
need.” Hamilton responds: ”Yeah, well, -- just come see me.”

48. Onor about June 4, 2015, at approximately 10:49 a.m., while Davis and
Hamilton were discussing Davis’s future lobbying practice once she departed the City
Council later that month, Hamilton told Davis “...technically you can’t lobby directly
for a year or whatever, but you could talk to people... You can -- you can effectively do

the same thing through other people.”

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49. On or about June 4, 2015, at approximately 3:53 p.m., Hamilton and Davis
discuss going to the bank the next day.

50. Onor about June 5, 2015, at approximately 11:08 a.m., Davis tells
Hamilton that she is on her way to meet him at his office.

51. Onor about June 5, 2015, at approximately 12:16 p.m., Hamilton
withdrew $4,000 cash from his Sovereign Bank account ending in 0497 and gave Davis
cash.

52. Onor about June 11, 2015, Hamilton withdrew $5,000 cash from his
Sovereign Bank account ending in 0497.

53. On or about June 13, 2015, Hamilton met with Davis and gave her cash.

54. Onor about June 13, 2015, at approximately 8:18 a.m., Davis tells an
associate that she is “going to continue to work with Ruel” and that she told Hamilton
that his “name is not going to be attached to none of this next year.”

55. On or about June 13, 2015, at approximately 9:56 p.m., Davis told
Hamilton “everyone won who I was supporting. I used every bit that you had to give
me. I'll come over Monday and you can put something into my eager nest. I had to do
what I had to pay. I tried to hold on to a little, but couldn’t because I just had to pay
people.” Hamilton agreed and said: “Ill see you Monday.”

Additional Overt Acts: Official Acts by Davis to Benefit Hamilton
56. On or about February 2, 2015, during a meeting of the Housing Committee,

Davis, as the Chair of the Housing Committee, voted to support moving Hamilton’s

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Royal Crest project forward to the City Council, so that the Council could then decide
whether to provide City of Dallas backed funding and support tax-exempt bonds and tax
credits for Hamilton’s project. At that time, the tax credit application for Hamilton’s
project was in direct competition with that of a competing project. Davis’s vote included
support for City of Dallas funding of $168,000 and a DHFC development loan funding of
$2,520,000 for Hamilton’s project. Hamilton was present at the meeting.

57. Onor about February 25, 2015, Davis moved the City Council to authorize
the DHFC to make a development loan to Hamilton’s company in an amount not to
exceed $2,520,000 for Hamilton’s project, as an integral part of Hamilton’s TDHCA’s
9% tax credit application. Davis, along with those City Council members present, voted
to adopt the resolution supporting the tax credit application Hamilton sought.

58. On or about April 23, 2015, at approximately 9:24 a.m., Davis told
Hamilton that she questioned a City of Dallas housing official (Official X) about the
status of Hamilton’s Royal Crest project that was tied in points with another competing
project. Davis told Hamilton that she told Official X to connect Hamilton with a
nonprofit so that his project would get another point in the scoring system, thereby
surpassing the score of the other competing project. Hamilton told Davis that he would
be “disappointed” if his project did not get on TDHCA’s list of projects “they are
seriously considering.” Hamilton told Davis that he wanted her, and another City
Council Member (Council Member A), to lobby for his project before the TDHCA,

specifically, to speak before the TDHCA during a hearing on tax credits. Davis agreed

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to lobby the project in her official capacity before the TDHCA in Austin, Texas.
Payments by Hamilton to Davis after June 2015 in Furtherance of the Conspiracy
59. From on or about October 2015 to on or about October 2018, Hamilton, as
agreed, paid Davis at least $20,000 as a “consultant” to benefit Hamilton’s financial

interests.

All in violation of 18 U.S.C. § 371 (18 U.S.C. § 666(a)(1)(B) and (a)(2)).

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Count Two |
Bribery Concerning a Local Government Receiving Federal Benefits
[Violation of 18 U.S.C. § 666(a)(2)]

60. The Grand Jury hereby adopts, re-alleges and incorporates herein all
allegations set forth in the preceding paragraphs of this indictment as if fully set forth
herein.

61. From in or about November 2014 to in or about June 2015, in the Dallas
Division of the Northern District of Texas, the defendant, Ruel M. Hamilton, corruptly
offered to give and did give something of value to Carolyn Rena Davis in connection
with a business, transaction, and series of transactions of the City of Dallas involving
anything of value of $5,000 or more, to wit: votes and other official acts by Davis
regarding Hamilton’s projects, with intent to influence and reward Davis, an agent of the
City of Dallas, a local government that received benefits in excess of $10,000 in the one-
year period beginning October 1, 2014 under a Federal program involving a grant,

contract, subsidy, loan, guarantee, insurance, and other form of Federal assistance.

In violation of 18 U.S.C. § 666(a)(2).

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Background to Counts Three and Four
62. In furtherance of Hamilton’s scheme to corruptly influence public officials,
on or about August 2, 2018, Hamilton initiated contact with Council Member A.
Hamilton urgently sought Council Member A’s official assistance in facilitating the late-
addition of a referendum item, which would serve Hamilton’s political agenda, to be

placed on the agenda of the next Dallas City Council meeting scheduled for August 8,

‘2018. Hamilton told Council Member A: “So I was told that if there is anybody that

could get the Mayor to put it on the agenda for the 8th, that it was Councilmember
[Council Member A].” The item, if added on the agenda and passed by the City
Council, would have resulted in the placement of a referendum item on the November
2018 general election ballot for City of Dallas voters.

63. The next day, on August 3, 2018, Hamilton and Council Member A met
and further discussed Hamilton’s request for the addition of the agenda item and Council
Member A’s vote on it. Hamilton also sought future officia] action by Council Member
A in relation to a housing project that Hamilton desired to develop in the City of Dallas.
Specifically, Hamilton stated: “Before you leave office or whenever your last term is,
we're going to have stuff built down there on Eleventh Street. You just watch. I need
you for that. I'm saying is, I'm there, you know, and so if there is anything that I can
help you with, I mean, I hope you feel like you can reach out.”

64. Council Member A agreed to facilitate the addition of the agenda item to

the agenda, and to provide official assistance on the proposed housing project, in return

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formoney. When Council Member A asked Hamilton for $6,200, Hamilton agreed but
confirmed that Council Member A would “follow through with the Mayor.” Hamilton
then offered to pay $6,500, which Council Member A accepted. Hamilton, instead, |
wrote a $7,000 check to Council Member A. Hamilton further discussed with Council
Member A how Hamilton should characterize the purpose of the check, including:
“What should J put down just for posterity sake, down in here [the memo line] for, what
should I say? Allright. I just wrote something down there just so ... some -- somebody

ever asks, I can come up with some kind of reference.”

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Count Three
Bribery Concerning a Local Government Receiving Federal Benefits
[Violation of 18 U.S.C. § 666(a)(2)]

65. The Grand Jury hereby adopts, re-alleges and incorporates herein all
allegations set forth in the preceding paragraphs of this indictment as if fully set forth
herein.

66. Onor about August 3, 2018, in the Dallas Division of the Northern District
of Texas, defendant, Ruel M. Hamilton, corruptly offered to give and did give
something of value to Council Member A, an individual known to the grand jury, in
connection with a business, transaction, and series of transactions of the City of Dallas
involving anything of value of $5,000 or more, to-wit, the facilitation of the addition of
an agenda item for the upcoming City Council meeting and Council Member A’s vote for
it, and in relation to official acts for a housing project that Hamilton desired to develop
in the City of Dallas, with intent to influence and reward Council Member A, an agent of
the City of Dallas, a local government that received benefits in excess of $10,000 in the
one-year period beginning October.1, 2017 under a Federal program involving a grant,

contract, subsidy, loan, guarantee, insurance, and other form of Federal assistance.

In violation of 18 U.S.C. § 666(a)(2).

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Count Four
Use of Interstate Facility to Commit Travel Act Violation
[Violation of 18 U.S.C. § 1952(a)(3)]

67. |The Grand Jury hereby adopts, re-alleges and incorporates herein all
allegations set forth in the preceding paragraphs of this indictment as if fully set forth
herein.

68. On or about August 2, 2018, within the Dallas Division of the Northern
District of Texas, the defendant, Ruel M. Hamilton, used and caused to be used facilities
in interstate commerce with the intent to promote, manage, establish, carry on, distribute
the proceeds of, and facilitate the promotion, management, establishment, carrying on,
and distribution of the proceeds of an unlawful activity, that is, Bribery in violation of
Texas Penal Code § 36.02, and thereafter, to perform and attempt to perform acts to
promote, manage, establish, carry on, distribute the proceeds of, and facilitate the
promotion, management, establishment, carrying on, and distribution of the proceeds of
such unlawful activity as follows: the facilitation of the addition of an agenda item for the
upcoming City Council meeting by Council Member A, an individual known to the grand
jury, and Council Member A’s vote for it, and in relation to official acts by Council
Member A for a housing project that Hamilton desired to develop in the City of Dallas.

In violation of 18 U.S.C. § 1952(a)(3).

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PagelD 957

A TRUE BILL

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

RUEL M. HAMILTON

 

SUPERSEDING INDICTMENT

18 U.S.C. § 371
Conspiracy to Commit Bribery Concerning Programs Receiving Federal Funds
(Count 1)

18 U.S.C. § 666(a)(2)
Bribery Concerning a Local Government Receiving Federal Benefits
(Counts 2 and 3)

18 U.S.C. § 1952(a)(3)
Use of Interstate Facility to Commit Travel Act Violatio

 

 

(Count 4)
ms . 4 Counts
A true bill rendered ae
DALLAS ' FOREPERSON

 

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Filed in open court this day of December, 2019.

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Criminal Case Pending: 3:19-CR-00083-M

 

 

 

 

 

 

 
